                          IN THE UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF TENNESSEE
                                   NASHVILLE DIVISION


Z.J.                                                    )
                                                        )
v.                                                      )       NO. 3:17-0936
                                                        )       Crenshaw/Holmes
THE VANDERBILT UNIVERSITY                               )



                                              ORDER

         Pending before the Court are various motions filed by Defendant (Docket Nos. 32, 33, and

34) seeking to either continue the initial case management conference or allow for telephonic

participation by pro hac vice counsel. For the reasons stated herein, the motions are DENIED

except to the extent provided herein and GRANTED in part as provided herein.

         This case has been pending for almost a year (Docket No. 1) without any case management

plan in place. Generally, the Court is disinclined to continue initial case management conferences

because of pending Rule 12(b)(6) motions to dismiss because doing so as a general practice would

create scheduling chaos given the number of cases in which Rule 12(b)(6) motions are routinely

filed. Although the Court accepted the parties’ agreement in August of 2017 to postpone the initial

case management conference pending disposition of Defendant’s motion to dismiss, the additional

time that has passed makes it necessary to proceed with more orderly case management. The Court

is confident that the experienced attorneys in this case can structure a proposed case management

plan that accounts for the pending motion. Defendant’s request to postpone the initial case

management conference until after a ruling on the pending Rule 12(b)(6) motion is DENIED.

         Regarding Defendant’s request for alternative relief, the Court first notes that five attorneys

have entered appearances on behalf of Defendant, and Defendant offers no good reason why the




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other four attorneys cannot accommodate Mr. Garrett’s conflict. The Court also notes that

Defendant chose to remove this case to federal court, and should therefore expect that its out-of-

town counsel will be required to participate in proceedings here. Additionally, the Court does not

generally permit telephonic participation at initial case management conferences, and finds no

reason to depart from that rule in this case. Further, although only one attorney from the Nashville

law firm representing Defendant has entered an appearance, there is ample depth in that firm’s

litigation practice group to allow for coverage by another attorney within the firm.

       Nevertheless, the Court will grant a short continuance of the initial case management

conference, which shall be RESCHEDULED for Monday, May 14, 2018, at 1:30 p.m., in

Courtroom 764, 801 Broadway, Nashville, Tennessee. No other continuances will be granted.

       By no later than three (3) business days prior to the initial case management conference,

the parties shall file a proposed joint case management order, and shall email a copy in Word

format to Ms. Jeanne Cox, Courtroom Deputy, at Jeanne_W_Cox@tnmd.uscourts.gov.

       It is SO ORDERED.




                                              ______________________________________
                                              BARBARA D. HOLMES
                                              United States Magistrate Judge




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